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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


             In re:                                                              Chapter 11

             TOWN SPORTS INTERNATIONAL, LLC, et al.,1                            Case No. 20-12168 (CSS)

                                                Debtors.                         (Jointly Administered)


                                 NOTICE OF AGENDA OF MATTERS SCHEDULED
                                  FOR TELEPHONIC AND VIDEO HEARING ON
                                     DECEMBER 17, 2020 AT 9:30 A.M. (ET)


                 THIS HEARING WILL BE HELD TELEPHONICALLY VIA COURTCALL AND, IN
                CERTAIN CIRCUMSTANCES, BY VIDEO VIA ZOOM. ALL PARTIES WISHING TO
               APPEAR MUST DO SO TELEPHONICALLY BY CONTACTING COURTCALL, LLC AT
                                            866-582-6878.
              ONLY THOSE PARTIES THAT WILL BE ADDRESSING THE COURT SHOULD APPEAR
                 BY VIDEO VIA ZOOM IN ADDITION TO THEIR COURTCALL REGISTRATION.

             PLEASE NOTE THAT THE MICROPHONES ON THE ZOOM MEETING WILL BE MUTED
                        AND THE ONLY AUDIO WILL BE THROUGH COURTCALL.

                                      Topic: Town Sports Intl 20-12168 Confirmation
                             Time: December 17, 2020 9:30 A.M. Eastern Time (US and Canada)

                                                      Join ZoomGov Meeting
                                          https://debuscourts.zoomgov.com/j/1600007545

                                                      Meeting ID: 160 000 7545
                                                         Passcode: 237106


         CONTESTED MATTER

         1.           First Amended Joint Chapter 11 Plan of Town Sports International, LLC and its Debtor
                      Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (Solicitation Version) [Docket
                      No. 586, 11/3/20]




         1
            The last four digits of Town Sports International, LLC’s federal tax identification number are 7365. The mailing
         address for Town Sports International, LLC is 399 Executive Boulevard, Elmsford, New York 10523. Due to the
         large number of debtors in these cases, for which the Debtors have requested joint administration, a complete list of
         the Debtors, the last four digits of their federal tax identification numbers, and their addresses are not provided herein.
         A complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
         http://dm.epiq11.com/TownSports, or by contacting the undersigned counsel for the Debtors.
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                    Related Documents:

                         A. Solicitation Version of the Disclosure Statement Relating to the First Amended
                            Joint Chapter 11 Plan of Town Sports International, LLC and its Debtor Affiliates
                            Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 587, 11/3/20]

                         B. Debtors’ Motion for Entry of an Order (I) Approving the Adequacy of the
                            Disclosure Statement on an Interim and Final Basis, (II) Scheduling a Combined
                            Disclosure Statement Approval and Plan Confirmation Hearing, (III) Shortening
                            Certain Notice Periods and Establishing Related Procedures, (IV) Approving the
                            Solicitation and Notice Procedures, (V) Approving the Combined Hearing Notice,
                            and (VI) Granting Related Relief [Docket No. 293, 10/20/20]

                         C. Order (I) Approving the Adequacy of the Disclosure Statement on an Interim Basis,
                            (II) Scheduling a Combined Disclosure Statement Approval and Plan Confirmation
                            Hearing, (III) Shortening Certain Notice Periods and Establishing Related
                            Procedures, (IV) Approving the Solicitation and Notice Procedures,
                            (V) Approving the Combined Hearing Notice, and (VI) Granting Related Relief
                            [Docket No. 561, 11/3/20]

                         D. Notice of Hearing to Consider (I) the Adequacy of the Disclosure Statement and
                            (II) Confirmation of the Joint Chapter 11 Plan filed by the Debtors [Docket No.
                            589, 11/3/20]

                         E. Notice of Filing of Plan Supplement [Docket No. 706, 11/25/20]

                         F. Statement of the Official Committee of Unsecured Creditors in Support of
                            Confirmation of the First Amended Joint Chapter 11 Plan [Docket No. 707,
                            11/25/20]

                         G. Affidavit of Service of Solicitation Materials [Docket No. 708, 11/25/20]

                         H. Notice of Filing of Additional Exhibit to Plan Supplement [Docket No. 736,
                            12/2/20]

                         I. Notice of Filing of Blackline of Plan [Docket No. 772, 12/9/20]

                         J. Debtors’ Memorandum of Law in Support of an Order (I) Approving the Debtors’
                            Disclosure Statement on a Final Basis and (II) Confirming the Debtors’ Joint
                            Chapter 11 Plan [Docket No. 773, 12/9/20]

                         K. Declaration of John C. DiDonato in Support of Confirmation of the Second
                            Amended Joint Chapter 11 Plan of Town Sports International, LLC and its
                            Affiliated Debtors Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
                            774, 12/9/20]2



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             The physical location of this declarant is Pittsburgh, PA.
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                         L. Declaration of Stephenie Kjontvedt on Behalf of Epiq Corporate Restructuring,
                            LLC Regarding Voting and Tabulation of Ballots Cast on the First Amended Joint
                            Chapter 11 Plan of Town Sports International, LLC and its Debtor Affiliates
                            Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 775, 12/10/20]3

                         M. Notice of Filing of Proposed Confirmation Order [Docket No. 776, 12/10/20]

                         N. Affidavit of Publication [Docket No. 787, 12/10/20]

                         O. Supplemental Declaration of Stephenie Kjontvedt on Behalf of Epiq Corporate
                            Restructuring, LLC Regarding Voting and Tabulation of Ballots Cast on the First
                            Amended Joint Chapter 11 Plan of Town Sports International, LLC and its Debtor
                            Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 796,
                            12/14/20]

                         P. Notice of Filing of Blackline of Proposed Confirmation Order [Docket No. 797,
                            12/14/20]

                         Q. Second Supplemental Declaration of Stephenie Kjontvedt on Behalf of Epiq
                            Corporate Restructuring, LLC Regarding Voting and Tabulation of Ballots Cast on
                            the First Amended Joint Chapter 11 Plan of Town Sports International, LLC and
                            its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code [Docket No.
                            800, 12/14/20]

                    Objection/Response Deadline: December 7, 2020 at 4:00 p.m. (ET)

                    Objections/Responses Filed:

                         R. Objection of KRG Bayonne Urban Renewal, LLC to the Joint Plan [Docket No.
                            751, 12/7/20]

                         S. Limited Objection of 429-441 86th Street LLC to Disclosure Statement and Chapter
                            11 Plan and Notice of Opt-Out of Third-Party Releases Under the Plan [Docket No.
                            752, 12/7/20]

                         T. Notice of Opt-Out of Third-Party Release and Supplement to Objection of KRG
                            Bayonne Urban Renewal, LLC to the Joint Plan [Docket No. 756, 12/7/20]

                         U. United States Trustee’s Objection to Confirmation of First Amended Joint Chapter
                            11 Plan [Docket No. 757, 12/7/20]

                         V. Limited Objection of Blumenfeld Development Group, LTD.; Philips International
                            Holding Corp.; Tanger Outlets Deer Park, LLC; 39-02-QB, LLC; and Regency
                            Centers, L.P. to Confirmation of the Debtors’ First Amended Joint Chapter 11 Plan
                            [Docket No. 758, 12/7/20]




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             The physical location of this declarant is Westchester, NY.
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                   W. Joinder and Reservation of Rights of Three Park Building LLC to Objections to
                      Confirmation [Docket No. 760, 12/7/20]

                   X. Joinder and Reservation of Rights of 1221 Avenue Holdings LLC to Objections to
                      Confirmation [Docket No. 761, 12/7/20]

                   Y. Limited Objection of Shakir Yousif Farsakh to Disclosure Statement and Chapter
                      11 Plan and Notice of Opt-Out of Third-Party Releases Under the Plan [Docket No.
                      764, 12/7/20]

                   Z. Notice of Opt Out of Third-Party Releases and Exculpations by, and Limited
                      Objection of, Kennedy Lewis Capital Partners Masterfund LP and Kennedy Lewis
                      Capital Partners Master Fund II LP to the First Amended Joint Chapter 11 Plan
                      [Docket No. 771, 12/9/20]

                  AA. Joinder of the District of Columbia and the Commonwealth of Massachusetts to the
                      United States Trustee’s Objection [Docket No. 795, 12/14/20]

               Status: This matter will be going forward solely with respect to final Disclosure Statement
                       approval and Plan confirmation.

         Dated: Wilmington, Delaware         YOUNG CONAWAY STARGATT & TAYLOR, LLP
                December 15, 2020
                                             /s/ Sean T. Greecher
                                             Robert S. Brady (No. 2847)
                                             Sean T. Greecher (No. 4484)
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                                             and

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                                 Counsel to the Debtors and Debtors in Possession




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